
The second objection if a good one for the reason assigned, would equally prevent one bond from being offsett against another, which (it cannot be denied) may be done under the general expressions of the act of Assembly respecting discounts. Though the award is made posterior to the taking of the distress, the debt was created long prior to it. The award does not create a debt, but only ascertains one already existing — it was therefore proper evidence.
The answer to the third objection is, that the time of the assignment not being proved, it might have been made subsequent to the distress, and if so, was improper evidence to-justify an act which was originally tortious. For if nothing were due (which there was not, since the debt due from the avowant exceeded the rent due to him,) when the distress was taken, the seizure was unwarrantable, and could not be rendered lawful by a subsequent act tending to destroy the offsett of the tenant against the demand of rent. The date of the assignment endorsed on the bond, is no proof of the real time when that assignment was made.
The court affirmed the judgment.
